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                      UNITED STATES DISTRICT COURT
                          DISTRICT OF MONTANA




                       Request to Stream Court Proceedings

Before you proceed to complete this form, please carefully read and understand the
following rules and guidelines:

Eligibility: This form should be completed if you would like to request access to a
non-trial civil proceeding that does not involve witnesses. Criminal cases are not
available for streaming. Parties to actions must file a motion to appear via Zoom or
telephonically and should not use this service for remote appearances.

Submission Format: Requests must be made through this online form only. Please
complete all fields.

Submission Deadline: Requests made less than 24 hours prior to the proceeding
cannot be guaranteed.

Notification of Decision: Access to streaming is at the discretion of the judicial
officer. You will be notified of the court’s decision via email or telephone.
Email your completed form to mtd_streaming@mtd.uscourts.gov.



Name: Chrissy Pepino

Case Number/Case Name: 1:24-cv-00180-BMM; State of MT et al v Haaland et al

Date/Time of Hearing: April 17 at 3:30 PM in Butte

Email: cpepino@earthjustice.org

Telephone: 406-586-9699
